Case 1:22-cv-23753-KMM Document 139-3 Entered on FLSD Docket 04/14/2023 Page 1 of 9




                                Exhibit 3
    Original and Translated Declaration of Shohei Ohtani
Case 1:22-cv-23753-KMM Document 139-3 Entered on FLSD Docket 04/14/2023 Page 2 of 9




                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION

                                   Case No. 22-cv-23753-MOORE/LOUIS

   EDWIN GARRISON, et al., on behalf of
   themselves and all other similarly situated,

             Plaintiffs,

   v.

   SAM BANKMAN-FRIED, et al.,

             Defendants.
                                                              /

        DECLARATION OF SHOHEI OHTANI IN SUPPORT OF MOTION TO DISMISS

        I, Shohei Ohtani, make this declaration pursuant to 28 U.S.C. § 1746 and state:

        1.      My name is Shohei Ohtani, and I am over the age of 18.

        2.      I am a citizen of Japan, and my legal residence is in Tokyo, Japan.

        3.      I am a professional baseball player for the Japanese National Baseball Team based in

                Tokyo, Japan, and the Los Angeles Angels based in Anaheim, California.

        4.      I have never lived in the State of Florida.

        5.      I do not own or rent any property in the State of Florida.

        6.      I do not conduct any business in the State of Florida.

        7.      During the Major League Baseball season, while in California, I rent an apartment in

                Newport Beach, California.

        8.      I entered into an agreement with FTX on November 16, 2021 while I was at my home

                in Tokyo, Japan.

        9.      Between November 16, 2021 and the date this lawsuit was filed, I spent approximately

                two months in Japan, two months in Arizona, four months in California, and four months
Case 1:22-cv-23753-KMM Document 139-3 Entered on FLSD Docket 04/14/2023 Page 3 of 9




            travelling throughout the United States and Canada for road games with the Los Angeles

            Angels.

      10.   Between November 16, 2021 and the date this lawsuit was filed, I spent approximately

            six days in Florida while playing road games with the Los Angeles Angels against the

            Miami Marlins and Tampa Bay Rays. I did not spend any time in Florida beyond those

            six days, even for vacation.

      11.   I entered into an agreement with FTX to license my name, image, and likeness so that

            FTX could promote FTX in Japan to the Japanese market.

      12.   My native language is Japanese and I purposely communicate through a translator

            whenever I make public statements.

      13.   None of my interactions with any FTX employee occurred in or related to Florida.

      14.   I never communicated with any FTX employee in Florida.

      15.   The only FTX employee that I have met or spoken with is Zane Tackett, who I

            understand resides in Colorado.

      16.   I only had two interactions with Mr. Tackett: (i) in the fall of 2021 during a meeting in

            Orange County, California and (ii) in February 2022 during a photo shoot in Tempe,

            Arizona.

      17.   Other than these meetings, I never spoke with anyone at FTX in person, in writing, or

            via telephone.

      18.   I have done no promotional work for FTX in Florida. I did not record any promotional

            content in Florida, I did not make any statements concerning FTX in Florida, and I did

            not speak to anyone in Florida about FTX.




                                                  2
Case 1:22-cv-23753-KMM Document 139-3 Entered on FLSD Docket 04/14/2023 Page 4 of 9




      19.   I have never communicated with any of the Defendants in this action about anything

            related to FTX.

      20.   I have not entered into any agreement with any Defendant in this case, except for my

            November 16, 2021 agreement with FTX that was signed by Mr. Bankman-Fried on

            FTX’s behalf.


      I declare under penalty of perjury that the foregoing is true and correct to the best of my

   knowledge.




                                                 3
Case 1:22-cv-23753-KMM Document 139-3 Entered on FLSD Docket 04/14/2023 Page 5 of 9
Case 1:22-cv-23753-KMM Document 139-3 Entered on FLSD Docket 04/14/2023 Page 6 of 9




                                 米国地方裁判所
                                 フロリダ南部地区
                                   マイアミ区

                         事件番号. 22-cv-23753-MOORE/LOUIS

   エドウィン          ガリソン、及びその他（自身と全ての類似状態にある者を代表して）

            原告,

   対

   サム       バンクマン-フライド、及びその他

            被告.
                                            /

                          却下申立に関する大谷翔平の宣誓書

       私、大谷翔平は合衆国法典第 28 章第 1746 条に従って宣誓し、以下を述べる:

       1.    私の名前は大谷翔平であり、１8 歳以上である。

       2.    私は日本人であり、日本国東京都に法定住所がある。

       3.    私は日本の東京を拠点にする野球日本代表チームとカリフォルニア州ロサン

             ゼルスを拠点にするロサンゼルスエンジェルスのプロ野球選手である。

       4.    私はフロリダ州に住んだことがない。

       5.    私はフロリダ州で物件を賃借していないし、所有していない。

       6.    私はフロリダ州で事業を行なっていない。

       7.    メジャーリーグの野球シーズン中にカリフォルニア州にいる間は、私はカリ

             フォルニア州ニューポートビーチのアパートを賃借している。

       8.    私は日本の東京都の自宅にいる間の 2021 年 11 月 16 日に FTX と契約を結んだ。
Case 1:22-cv-23753-KMM Document 139-3 Entered on FLSD Docket 04/14/2023 Page 7 of 9




      9.    2021 年 11 月 16 日からこの件が提訴された日の間に、私はおよそ二ヶ月間を

            日本で、二ヶ月間をアリゾナ州で、四ヶ月間をカリフォルニア州で過ごし、

            四ヶ月間はアメリカとカナダの至る場所をロサンゼルスエンジェルスのチー

            ムで遠征試合のために移動した。

      10.   2021 年 11 月 16 日からこの件が提訴された日の間に、私はロサンゼルスエン

            ジェルス対マイアミマリーンズと対タンパベイレイズの遠征試合の間、およ

            そ六日間をフロリダ州で過ごした。私は、休暇目的でさえも、フロリダ州で

            この六日間を超えての滞在を一切しなかった。

      11.   私は、FTX が日本の FTX を日本市場に向けて宣伝ができるよう、私の名前、イ

            メージ、および肖像の使用許諾をするためのライセンス契約を FTX と結んだ。

      12.   私の母国語は日本語であり、私は、私が公式声明を出すときはいつでも、意

            図的に通訳者を介してコミュニケーションをとる。

      13.   FTX の従業員との一切の交流はフロリダ州で行われず、フロリダ州とはなんら

            関係がなかった。

      14.   私はフロリダ州の FTX の従業員とは全くコミュニケーションを取らなかった。

      15.   私が会い、または会話をした FTX の唯一の従業員は、コロラド州在住と私が理

            解しているゼイン         タケットである。

      16.   タケット氏とのやり取りは 2 回だけでした。 (i) カリフォルニア州オレンジ

            郡での 2021 年秋の会議中、および (ii) 2022 年 2 月のアリゾナ州テンピで

            の写真撮影中。




                                         2
Case 1:22-cv-23753-KMM Document 139-3 Entered on FLSD Docket 04/14/2023 Page 8 of 9




      17.   私は、これらの対面以外では、直接的にも、書面でも、電話でも、FTX の誰と

            も全く会話をしなかった。

      18.   私はフロリダ州で FTX のためのプロモーションの仕事を全くしたことがない。

            私はフロリダ州でプロモーション用のコンテンツを収録しなかった。私はフ

            ロリダ州で FTX に関する一切の声明を出さなかった。そして、私はフロリダ州

            で誰とも FTX に関して話さなかった。

      19.   私はこの件のどの被告人とも FTX に関して一切のコミュニケーションをとった

            ことがない。

      20.   FTX のためにバンクマン-フライド氏によって署名された 2021 年 11 月 16 日の

            FTX との契約を除いては、私はこの件のどの被告人ともいかなる契約も結んだ

            ことがない。


      私は、偽証罪のペナルティの下で、上記のことが私の知る限り真実であり、正確であるこ

   とを宣誓する。




                                         3
Case 1:22-cv-23753-KMM Document 139-3 Entered on FLSD Docket 04/14/2023 Page 9 of 9




   DATED: April ___, 2023
          Anaheim, California            Shohei Ohtani
